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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          8:04CR118-2
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )          ORDER
VERONICA PERALES,                            )
                                             )
                     Defendant.              )

       After a conference call with counsel wherein we reviewed a June 26, 2008 status
report with U.S. Probation Officer Harriette Washington,

       IT IS ORDERED that disposition of this case is set for 2:00 p.m. on July 2, 2008, and
the defendant is ordered to be present.

       June 26, 2008.                     BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
